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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 23-20073-CIV-ALTONAGA/Damian

  FLORAL LOGISTICS OF
  MIAMI, INC.,

         Plaintiff,
  v.

  NEW YORK GARDEN FLOWER
  WHOLESALE, INC.; et al.,

        Defendants.
  ________________________________/

                                               ORDER

         THIS CAUSE came before the Court sua sponte. Following Calendar Call on November

  14, 2023, the parties submitted proposed jury instructions to be used at trial. The instructions —

  which contain citations to authorities, headings, and changes in font — are not in final form.

         Accordingly, it is

         ORDERED that the parties shall submit proposed jury instructions in final form that omit

  citations to authorities, headings, and changes in font by November 16, 2023. The parties shall

  file the instructions and submit them via e-mail to altonaga@flsd.uscourts.gov in Word format.

         DONE AND ORDERED in Miami, Florida, this 15th day of November, 2023.



                                                  ________________________________________
                                                  CECILIA M. ALTONAGA
                                                  CHIEF UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
